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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


  SANJAY SA1NI Individually And             Civil Action No. 12-cv-6105(CCC)(JAD)
  On Behalf Of All Other Similarly
  Situated Residents,
                     Plaintiff,
                                                        CLASS ACTION
               vs.
  BMW OF NORTH AMERICA,
  LLC,

                     Defendant.


              ORDER GRANTING FINAL APPROVAL OF THE
                     CLASS ACTION SETTLEMENT

        WHEREAS, this matter has come before the Court pursuant to Plaintiffs

  Motion for an Order granting Final Approval of the Class Action Settlement and

  Certifying a Settlement Class;

        WHEREAS, the Court finds that it has jurisdiction over this Action.

        WHEREAS, on October 6, 2014, this Court granted Plaintiffs Motion for

  Preliminary Approval of the Settlement Agreement and Provisional Class

  Certification (the “Preliminary Approval Order”);

        WHEREAS, the Settlement Class conditionally certified in the Preliminary

  Approval Order has been appropriately certified for settlement purposes only;
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        WHEREAS, the Court held a hearing on March 12, 2015 to consider the

  fairness, reasonableness, and adequacy of the Settlement Agreement, has been

  advised of any objections to the Settlement, and has given fair consideration to

  such objections;

        WHEREAS, the Court has considered the Motion, the Class Action

  Settlement Agreement, and the exhibits hereto (the “Settlement Agreement” or the

  “Settlement”), and any objections to the proposed Settlement; and

        WHEREAS, the Court is otherwise fully advised in the premises and has

  considered the record of these proceedings, the representations, arguments, and

  recommendations of counsel for the parties, and the requirements of law.

  IT IS HEREBY ORDERED THAT:

     I. FINAL APPROVAL OF THE SETTLEMENT AGREEMENT

        The terms of the Settlement Agreement are approved. The Settlement is in

  all respects fair, reasonable, adequate and proper, and in the best interest of the

  Class. In reaching this conclusion, the Court has considered a number of factors,

  including an assessment of the likelihood that Plaintiff would prevail at trial; the

  range of possible recovery available to such Plaintiff the consideration provided to

  Settlement Class Members pursuant to the Settlement Agreement as compared to

  the range of possible recovery discounted for the inherent risks of litigation; the


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  complexity, expense and possible duration of such litigation in the absence of a

  settlement; the nature and extent of any objections to the Settlement; and the stage

  of the proceedings at which the Settlement was reached.

        The proposed Settlement was entered into by experienced counsel and only

  after extensive arms-length negotiations, including through mediation supervised

  by an experienced mediator. The proposed Settlement is not the result of

  collusion. The proposed Settlement was entered into in good faith, is reasonable,

  fair, and adequate, and is in the best interest of the Settlement Class. Class

  Counsel and the Class Representative have fairly and adequately represented the

  Settlement Class for purposes of entering into and implementing the Settlement

  Agreement.

     II. CLASS CERTIFICATION FOR SETTLEMENT PURPOSES

            A. CERTIFICATION OF SETTLEMENT CLASS

        Consistent with its Preliminary Approval Order, the Court hereby grants

  class certification of the following settlement class for purposes of final approval:

        All consumers within the United States, at any time after September
        28, 2006 until October 6, 2014, (1) who were the initial purchasers of
        a BMW Sales Demonstration (“sales demo”) vehicle or a BMW
        Aftersales Mobility Program (“service demo”) vehicle; (2) that was
        identified in the contract of sale as “new;” and (3) were not informed
        that the vehicle was a sales demo or service demo vehicle whose
        warranty had commenced prior to customer purchase.


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              B. RULE 23(a)

        With respect to the proposed Settlement Class as set forth in the Settlement

  Agreement, this Court has determined that, for the purposes of settlement of the

  Action only, Plaintiff has satisfied each of the Rule 23(a) Prerequisites:

         1.     The Class Members are so numerous that joinder of all members is

  impracticable. Fed. R. Civ. P. 23(a)(1).

        2.      There are questions of law or fact common to the Settlement Class.

  Fed. R. Civ. P. 23(a)(2). Common questions of law or fact include: (1) such as

  whether BMW NA had a policy of directing BMW dealers not to disclose a

  vehicle’s demo status, thereby shortening the term of warranty coverage on BMW

  demo vehicles sold to Plaintiff and the Class as “new;” (2) whether BMW NA’s

  warranty commences coverage on the date that a demo vehicle is delivered to the

  dealership lot, rather than on the date on which the same vehicle is sold to the

  consumers as new; (3) whether this alleged conduct breaches BMW NA’s promise

  to provide 4 years of Ultimate Warranty coverage for all “new” BMW vehicles, or

  unjustly enriches BMW NA; and (5) whether BMW NA had a duty to disclose the

  limitation on purchasers’ warranties to Class Members.

        3.      The claims of the Class Representative are typical of the claims of the

  Settlement Class. Fed. R. Civ. P. 23(a)(3). Here, Plaintiff has alleged that BMW


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  NA had a purported policy of failing to provide four years of warranty coverage

  per its contractual covenant for demonstration vehicles sold by BMW dealers as

  “new”, thereby depriving Settlement Class members of valuable warranty

  coverage. Plaintiff asserts that there was sufficient uniform treatment by

  Defendant so that the Class Representative and Settlement Class Members presents

  (i) the same claim concerning (ii) the same conduct and (iii) the same relief from

  Defendant. The ability of the Parties to achieve a settlement on terms applicable to

  the entire Settlement Class underscores the finding of typicality.

        4.     The Class Representative will fairly and adequately protect the

  interests of the Settlement Class. Fed. R. Civ. P. 23(a)(4). The Class

  Representative does not have interests that are antagonistic to the Class and are

  fully aligned with the interests of other Class Members. Accordingly, the Court

  finds that the Class Representative has satisfied Rule 23(a) for purposes of

  evaluating this Settlement.

             C. RULE 23(b)(3)

        With respect to the proposed Settlement as contained in the Settlement

  Agreement, the Court also “finds that the questions of law or fact common to class

  members predominate over any questions affecting only individual members,” and




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  “that a class action is superior to other available methods for fairly and efficiently

  adjudicating the controversy.” Fed. R. Civ. p. 23(b)(3).

        Here, Settlement Class Members share a common legal grievance arising

  from BMW NA’s alleged policy of treating Class Vehicles as demos for the

  purpose of warranty calculation even though they are sold by BMW dealers as

  “new,” thereby depriving Class Members of valuable warranty coverage.

  Common legal and factual questions are central to all Class Members’ claims and

  predominate over any individual question that may exist for purposes of this

  Settlement, and the fact that the Parties are able to resolve the case on terms

  applicable to all Settlement Class Members underscores the predomination of

  common legal and factual questions for purposes of this Settlement. In concluding

  that the Settlement Class should be certified pursuant to Rule 23(b)(3) for

  settlement purposes, the Court further finds that a class action is superior for

  purposes of resolving these claims because individual class members have not

  shown any interest in individually controlling the prosecution of separate actions.

  Moreover, the cost of litigation far out paces the individual recovery available to

  any plaintiffs. See Fed. R. Civ. P. 23(b)(3)(A). Accordingly, the Court fmds that,

  for purposes of this Settlement, Rule 23(b)(3) has also been satisfied.




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     III.     NOTICE

           The Court finds that the Notice Program (i) satisfied the requirements of

  Rule 23(c)(3) and due process; (ii) was the best practicable notice under the

  circumstances; (iii) reasonably apprised Settlement Class Members of the

  pendency of the action and their right to object to the proposed Settlement or opt

  out of the Settlement Class; and (iv) was reasonable and constituted due, adequate

  and sufficient notice to all those entitled to receive notice. Additionally, the Class

  Notice adequately informed Class Members of their rights in the Action. See Fed.

  R. Civ. P. 23(c)(2).

     IV.      DISMISSAL WITH PREJUDICE

        This Court hereby enters a judgment of dismissal, pursuant to Fed. R. Civ. P.

  54(b), of the claims by the Settlement Class Members, with prejudice and without

  costs, expect as specified herein, and except as may be provided for in the Court’s

  order related to Plaintiffs unopposed motion for attorneys’ fees, expenses and

  incentive awards. The Clerk of Court is directed to close this docket.

     V. RELEASES AND FURTHER RELIEF

        Pursuant to the Settlement Agreement, Defendant is released from any and

  all claims or causes of action that were, or could have been, asserted by the




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  Plaintiff or any Class Members against them, regarding the Class Vehicles’

  warranty as alleged in the Action and Settlement.

     VI.      OPT-OUTS

           A list of those members of the Class who have timely elected to opt-

  out of the Settlement and the Class, and who therefore are not bound by the

  Settlement, the provisions of the Settlement Agreement, and this Order, has

  been submitted to the Court and is attached at the end of this Order as

  Exhibit A.

     VII. CONTINUING JURISDICTION

           Without any way affecting the finality of this Order, the Court hereby retains

  jurisdiction over the Parties to the Settlement Agreement, including all Settlement

  Class Members, and Class Counsel to construe and enforce the Settlement

  Agreement in accordance with its terms for the mutual benefit of the Parties. The

  Court shall also retain jurisdiction to protect, preserve and implement the

  Settlement Agreement, including but not limited to, the Release. The Court

  expressly retains jurisdiction in order to enter such further orders as may be

  necessary or appropriate in administering and implementing the terms and

  provisions of the Settlement Agreement, including but not limited to, orders




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  enjoining Class Members from prosecuting claims that are released pursuant to the

  Settlement Agreement.

        Consistent with the Settlement Agreement, it is further Ordered that Class

  Members shall be permanently barred from initiating, asserting, or prosecuting any

  and all released claims against Defendant in any federal or state court in the United

  States or any other tribunal.

        IT IS SO ORDERED.



  DATED;


                                               Claire C. Cecchi, U.S.D.J




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                                          EXHIBIT A

                                   LIST Of EXCLUSIONS

                      Name & Address                Model           VTN Number
      1.   Alasdair C. Acheson                 2014 BMW       WBA3D3C5XEK154492
           726 Herrick Court                   328d
           Katy, TX 77450
      2.   Drew Bentley                        2013 BMWX3     5UXWX9C59DOAI 1572
           317 Dorothy Louise Dr.
           Jeannefte PA, 15644
      3.   Christopher J. Casebolt             2013 BMW       5UXZWOC5ODOB9O323
           2595 Endicott Dr.
           Boulder, CO 80305
      4.   Lawrence E. & Mary C. Casper        2011 BMW X5    5UXZV4C5XBL739562
           11395 N. Flying Bird Dr.
           Tucson, AZ 85737
      5.   GeorgeB.farr                       2013 Mini       T340242549307
           2730 Clarence St.                  Cooper
           Maplewood, MN 55109-1007
      6.   Chris Frank                        2011 BMW 3351   WBADX7C51BE743783
           207 Warren Court
           Exton, PA 19341
      7.   Stephanie R.A. Hacker              2013 Mini       WMWZB3C56DWMO8545
           1750 N. Palmer St.                 Cooper
           Milwaukee, WI 53212                Countryman
      8.   Thomas J. Linaris                  2011 BMW X5     5UXZV8C51BL419098
           54 Stratton Ave.
           Westwood, NJ 07675
     19.   Tessie B. McNeely                  2010 Mini       WMWMM3C5XATP93 853
           921 Surrey Dr.,                    Clubman S
           P.O. Box 495
           Gwynedd Valley, PA 19437
     10.   Toni Milas                         2011 BMW 3351   WBADX7C5OBE58155O
           1654 friar Lane
           Napewille, IL 60565-6773
     11.   KristenT. Otto                     2013 BMW        WBA335G59DNP40755
           84 Eagle Chase                     328xi
           Woodbury,NY 11797
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     12.   Michael Richard Velloza     2010 328i      VVBAPH5C54AA44O128
           175 San Francisco Blvd.
           San Anselmo, CA 94960
     13.   Roger Zoch                  2010 Mini      WIvIWMF3C58ATZ2$208
           3961 Ruth Ct                Cooper
           Mcfarland, WI 53558
